Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.1 Filed 08/04/10 Page 1 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.2 Filed 08/04/10 Page 2 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.3 Filed 08/04/10 Page 3 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.4 Filed 08/04/10 Page 4 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.5 Filed 08/04/10 Page 5 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.6 Filed 08/04/10 Page 6 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.7 Filed 08/04/10 Page 7 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.8 Filed 08/04/10 Page 8 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.9 Filed 08/04/10 Page 9 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.10 Filed 08/04/10 Page 10 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.11 Filed 08/04/10 Page 11 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.12 Filed 08/04/10 Page 12 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.13 Filed 08/04/10 Page 13 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.14 Filed 08/04/10 Page 14 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.15 Filed 08/04/10 Page 15 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.16 Filed 08/04/10 Page 16 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.17 Filed 08/04/10 Page 17 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.18 Filed 08/04/10 Page 18 of 19
Case 2:10-cv-13089-GCS-MAR ECF No. 1, PageID.19 Filed 08/04/10 Page 19 of 19
